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UNITED STATES DISTRICT COURT 0
for the 98 SEP 23 PN 4: 20

SOUTHERN DISTRICT OF FLORIDA pon

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SECURITIES AND EXCHANGE COMMISSION,

Plaintiff, ) O'R’: i 4 4

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Vv.

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DAVID MORGENSTERN, MAGISTRATE JUDGE 3
FRED MORGENSTERN, %:.. ) SELTZER _ J
BERNADETTE STEVENS, AND ) ns

AMQUEST INTERNATIONAL, LTD.,

Defendants.

Plaintiff, Securities and Exchange Commission ("Commission"), alleges that:

1. This is an action for injunctive and other relief to prevent defendants David
Morgenstern (“D. Morgenstern”), Fred Morgenstern (“F. Morgenstern”), Bernadette Stevens
(“Stevens”) and Amquest International, Ltd. (“Amquest” or the “Company”)(collectively,
“Defendants”) from violating the federal securities laws by committing material
misrepresentations or omissions, by employing schemes to defraud, or by engaging in deceitful
and fraudulent acts or practices, in the direct solicitation of investors, in the preparation or
distribution of offering materials, and in the use of proceeds, in connection with the offer,

purchase and sale of securities.

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2. The Defendants’ activities resulted in approximately $4.1 million in losses to
investors. Immediate injunctive relief is required to ensure that they do not fraudulently induce
additional investors to entrust funds to them.

THE DEFENDANTS

3. Defendant Amquest, a Nevada corporation, with its principal place of business in
Ft. Lauderdale, Florida, describes itself in promotional material as a “financial services”
business.

4. Defendant D. Morgenstern, age 48, has served as president and managing
director of Defendant Amquest since February 1996. D. Morgenstern is also president and
managing director of Kinsman, Merchant & Associates, Inc. (“KMA”), an alleged “consulting
firm” affiliated with Amquest.

5. Defendant F. Morgenstern, age 48 and the twin brother of D. Morgenstern,
performed virtually all bookkeeping functions for Amquest pursuant to a purported consulting
agreement between Amquest and KMA. F. Morgenstern has held himself out as president, vice-

president, “finance manager,” secretary, treasurer, director, “compliance director” and
“Chairman of the Executive Committee” of KMA. In corporate documents he has been
described as “Finance Manager” and “Chairman” of the “Executive Committee” of SleepSource
International, Ltd. (“SleepSource”), a company affiliated with Amquest. In numerous bank and

brokerage account documents, F. Morgenstern is variously described as SleepSource’s president,

vice-president and secretary-treasurer.
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6. Defendant Stevens, age 39, is described in various corporate documents as
corporate secretary of Amquest from April 1, 1996 to approximately April 1997; she is also
described as having served as “Executive Director” of KMA from March 1996 through
December 1996. In numerous bank and brokerage account documents, Stevens is variously
described as SleepSource’s president, vice-president and secretary-treasurer. During the relevant
period, Stevens was a registered representative with a broker-dealer registered with the
Commission.

RELATED ENTITIES

7. KMA, a Florida corporation, has, since its inception in 1995, shared offices with
Amquest in Ft. Lauderdale, Florida. KMA is described in an Amquest Form 10 registration
statement filed with the Commission as a consulting firm, and is credited with having served as
the “prominent operating management” of Amquest since February 1995. The Form 10 also
attributes to KMA ownership of a controlling interest in Amquest, pursuant to KMA’s purported
“purchase” of Amquest on February 1, 1995 for $2,825,000.

8. SleepSource, a Florida corporation controlled by D. Morgenstern, F.
Morgenstern and Stevens, shared offices with Amquest in Fort Lauderdale, Florida.
SleepSource was supposedly formed as a holding company for a group of bedding product
manufacturers and mattress retailers.

JURISDICTION AND VENUE
9. This Court has jurisdiction over this action pursuant to Sections 20(b) and 22(a) of

the Securities Act of 1933 ("Securities Act"), 15 U.S.C. §§ 77t(b) and 77v(a), and pursuant to
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Sections 21(d), 21(e) and 27 of the Securities Exchange Act of 1934 ("Exchange Act"), 15
U.S.C. §§ 78u(d), 78u(e), and 78aa.

10. | The Commission brings this action pursuant to Section 20(b) of the Securities Act,
15 U.S.C. § 77t(b), and Sections 21(d) and 21(e) of the Exchange Act, 15 U.S.C. §§ 78u(d) and
78u(e), to restrain and enjoin Amquest, D. Morgenstern, F. Morgenstern and Stevens from
engaging in such acts and practices, and for other equitable relief against Amquest, D.
Morgenstern, F. Morgenstern and Stevens.

11. | Certain of the acts and transactions constituting violations of the Securities Act
and the Exchange Act occurred within the Southern District of Florida. D. Morgenstern, F.
Morgenstern and Stevens maintained and operated an office, operated Amquest and engaged in
the acts and practices complained of herein within the Southern District of Florida. Amquest's
principal place of business was in the Southern District of Florida. Upon information and belief,
the Defendants reside in Broward and Palm Beach Counties, Florida.

12. D. Morgenstern, F. Morgenstern and Stevens, directly or indirectly, have made
use of the means and instrumentalities of interstate commerce and the means and instruments of
transportation and communication in interstate commerce, and the mails, in connection with the
acts, practices, and courses of business complained of herein.

NATURE OF THE SECURITIES

13. From April 1996 through December 1996, Defendants Amquest, D.

Morgenstern, F. Morgenstern and Stevens, directly and indirectly, induced investors to purchase

the subject securities -- individual Series “A” “Units” consisting of 5,000 shares of Amquest
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common stock and 5,000 Class “A” warrants, exercisable into Amquest common stock at $7.50
per share, with an exercise period of four years from the date of issuance. Amquest investors
purchased the Units in the hope that the Defendants, through their expertise and efforts, would
cause the market value of their shares to increase, and for the opportunity, in the event of such
appreciation, to exercise their warrants for shares of Amquest common stock. The investors’
funds were to be used by Amquest for its business operations, for marketing, and for purported
expansion through the acquisition of other designated entities.
OVERVIEW OF THE SCHEME

14. ‘In an alleged “private” offering of securities issued by Amquest over the course
of 1996, the Company, through Defendants D. Morgenstern, F. Morgenstern and Stevens,
misrepresented the ownership and value of its assets, the composition and involvement of its
management, its business prospects, and the intended use of its stock offering proceeds. D.
Morgenstern, Amquest’s president and managing director, masterminded the fraudulent scheme
by drafting Amquest’s fraudulent private placement memorandum (“PPM”) and _ other
promotional materials. As a result of the Defendants’ misconduct, Amquest investors were
bilked out of approximately $3.4 million.

15. A number of documents were used to promote the Amquest offering. The
primary document, the Amquest PPM, was prepared by D. Morgenstern. Included in virtually
every promotional package sent to prospective investors, in addition to the PPM, was a

document entitled the “Arrowhead Financial High Growth Newsletter” (the “Newsletter”). In
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packages sent to later investors, a version of the PPM was accompanied by both the Newsletter
and a nine-page document entitled “Description of Amquest International, Ltd.” (“Description”).

16. D. Morgenstern hired individuals, including Stevens, to promote and sell the
Amquest offering. D. Morgenstern also hired F. Morgenstern to handle both the finances of
Amquest and customer relations. In addition to enticing the Amquest salespersons with promised
commissions, D. Morgenstern also provided them with the false information they used in their
pitch to investors. As president of KMA and Amquest’s secretary, Stevens compiled and
forwarded that information in the offering packages to prospective Amquest investors. She also
served as Amquest’s marketing contact, both “cold-calling” potential investors and answering,
by telephone and mail, the questions of individuals interested in investing in Amquest. On
several occasions, described below, Stevens made oral representations to investors that she
knew, or was reckless in not knowing, were false and likely to mislead the investors.

17. During this same time period, D. Morgenstern, F. Morgenstern and Stevens
controlled SleepSource, an entity intended to operate as a “manufacturer-driven retailer of
mattresses and other sleep-related products,” through their ownership of KMA, majority
shareholder of SleepSource and “consulting firm” for both SleepSource and Amquest. In the fall
of 1996, SleepSource, through the efforts of Defendants F. Morgenstern and Stevens,
fraudulently raised approximately $700,000 from approximately 25 investors in an alleged
“private” stock offering. As a result of the concerted misconduct of Defendants D.
Morgenstern, F. Morgenstern and Stevens in connection with both the Amquest and SleepSource

offerings, Amquest and SleepSource investors were bilked out of approximately $4.1 million.
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18. After the Amquest and SleepSource offerings, efforts to expand the fraudulent
scheme occurred on two fronts. First, Defendants D. Morgenstern, F. Morgenstern and Stevens
misapplied the Amquest and SleepSource offering proceeds, using the money to buy and sell
Amquest stock in an apparent attempt to inflate artificially the price of the stock in the over-the-
counter market. Second, D. Morgenstern prepared and filed with the Commission a fraudulent
Form 10 registration statement. D. Morgenstern’s motives in doing so were apparently twofold:
to promote trading and increase thereby the price of Amquest stock, and to qualify the stock for
listing on a major stock exchange.

MATERIAL MISREPRESENTATIONS AND OMISSIONS IN THE
-AMQUEST AND SLEEPSOURCE OFFERING MATERIALS

19. The Amquest PPM and accompanying offering materials, as well as the
SleepSource PPM, contained numerous material misrepresentations and omissions. Morgenstern,
who prepared the Amquest offering materials, was aware of the misrepresentations in the
Amquest documents. F. Morgenstern, who prepared the SleepSource document, was aware of
the misrepresentations in that document. Stevens, an officer of both Amquest and SleepSource,
having used both the Amquest and SleepSource offering documents in furtherance of her sales
efforts in the Amquest and SleepSource offerings, knew, or was reckless in not knowing of the
material misrepresentations and omissions in those documents. Defendants D. Morgenstern, F.
Morgenstern and Stevens, all of whom knew or should have known of the material

misrepresentations and omissions, took no steps to correct them.
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A. The Fraudulent Amquest Materials

20. The full-page “Summary of Consolidated Financial Statements, May 31, 1996”
contained in the Amquest PPM is replete with material misrepresentations. Specifically, of the
approximately $5.4 million in total assets claimed by the company, approximately $2.8 million
claimed is without any basis in fact. The $2.8 million is comprised of approximately $1.8
million in fictitious “Investments in Securities” and approximately $1 million in fictitious
“Prepaid Expenses.” In furtherance of the fraudulent scheme, D. Morgenstern, in later
Amquest offering materials, ascribes to total assets an incredible $408 million, virtually all of
which is fictitious. D. Morgenstern, the author of the Amquest PPM -- including the financial
statements -- knew, or was reckless in not knowing that these entries were false. Defendant
Stevens, who used the Amquest PPM in her Amquest offering sales efforts, also knew, or was
reckless in not knowing that these entries were false.

2. Misrepresentations re: the “Consulting Contract”
-with Montgomery, Smith and Associates, Inc.

21. | D. Morgenstern falsely stated in the Amquest PPM disseminated to prospective
Amquest investors that a consulting agreement existed between Amquest and a New York
consulting firm, Montgomery, Smith and Associates, Inc. (“MSA”). In the PPM, D.
Morgenstern writes that, in connection with its securities offering, Amquest exchanged 80
Amquest Units with a $1 million value to MSA, as “pre-paid consulting fees.” According to D.

Morgenstern, the fees “arise from a two-year contract” with MSA. In addition, the Amquest
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PPM falsely states that two principals of MSA acted as members of Amquest’s “Advisory
Council,” serving the Council as “Banking Executive Advisors” to the Amquest Board of
Directors and the Amquest “Executive Committee.” These misrepresentations were clear
attempts by D. Morgenstern, their author, to enhance Amquest’s credibility by highlighting the
accomplishments of its purported consultants. D. Morgenstern, the author of the Amquest PPM,
knew, or was reckless in not knowing that these representations were false. Defendant Stevens,
who used the Amquest PPM in her Amquest offering sales efforts, also knew, or was reckless in
not knowing that these representations were false.
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22. The Amquest PPM contains a representation, under the heading “Additional
Financing,” that Amquest “has a firm commitment contract from a Germany-based investment
group, ROCHEFORT ENTERPRISES, INC. [“Rochefort”], to raise a minimum of $10 million
to a maximum of $25 million ... in a subsequent private placement program.” Purportedly,
Rochefort, an investment firm with its own investors, would commit these moneys to Amquest
for investment by Amquest and its affiliated entities. The commitment was a sham. There was
no agreement between Amquest and Rochefort, and Rochefort conveyed no money to Amquest.
D. Morgenstern, the author of the Amquest PPM, knew, or was reckless in not knowing that
these representations were false. Defendant Stevens, who used the Amquest PPM in her
Amquest offering sales efforts, also knew, or was reckless in not knowing that these

representations were false.
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4. Additional Fraudulent Statements regarding Amquest’s
Fundraising, O . A cquisiti 1 Asset

23. The Newsletter sent to prospective investors was replete with additional
misrepresentations. For example, the Newsletter states that the Company 1) “completed its
initial private placement for $2.5 million”; 2) “initiated a $125 million High Yield Reinvestment
Program ... under which $25 million is firmly committed”; 3) “completed its acquisition of First
Mortgage Corp.”; 4) “assembled an experienced management team with expertise in investment
and mortgage banking”; 5) had a “commitment from brokers with $20 million under
management”; and 6) that the Company “moved beyond letter [sic] of intent with a strategic
prime bank partner to increase its mortgage warehousing lines from $15 million to $100
million.” None of these statements was true. D. Morgenstern, the author of the Newsletter,
knew, or was reckless in not knowing that these representations were false. Defendant Stevens,
who used the Newsletter in her Amquest offering sales efforts, also knew, or was reckless in not
knowing that these representations were false.

24. Stevens, who sent the Newsletter to prospective investors under cover of her own
letter, and whose cover letter was used by other sellers of the Amquest offering, knew, or was
reckless in not knowing, that the statements were false. Adding to the deception, Stevens
reiterates in her cover letter the false statements regarding Amquest’s “acquisition” of First
Mortgage Corp. and Amquest’s “completion” of its stock offering.

25. In the Amquest Description, D. Morgenstern, its author, refers to the following:

$1,756,900 in gross revenue generated by Amquest as of July 31, 1996; a sale of Amquest

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“Series A1A” Units grossing Amquest $245,075,000 in “cash and negotiable securities”; a sale
of Amquest “Series A1B” Units grossing Amquest $160,267,483; a $50 million “pre-sale” by
Amquest of “other Certificate issues”; and “total assets” attributed to Amquest of $408,315,309.
All of these statements are completely false: Amquest never generated revenue; Amquest sold no
“Series A1A” or “A1B” units; there was no “pre-sale”; finally, in contrast to the $408 million
figure, Amquest actually had almost no assets. D. Morgenstern, the author of the Description,
knew, or was reckless in not knowing that these representations were false. Defendant Stevens,
who used the Description in her Amquest offering sales efforts, also knew, or was reckless in not
knowing that these representations were false.
5. Misstatements re:_the Use of Proceeds

26. According to the Amquest PPM, the offering proceeds were to be used to fund
“Investments in Assets,” “registration” costs, marketing, and a “working capital reserve.” In
actuality, of the $3.4 million raised in the Amquest offering, a substantial portion -- more than
$2 million -- was used by Defendants D. Morgenstern, F. Morgenstern and Stevens to fund a
scheme to attempt to inflate the price of Amquest stock -- through pre-arranged trades in
nominee brokerage accounts. Not surprisingly, there is no mention of this misuse of proceeds in
the PPM. The remaining $1.4 million in proceeds was used, at least in part, to pay salaries and
sales commissions, and to acquire lavish office furnishings and “company” automobiles.

B. The Fraudulent SleepSource Materials

27. Ina SleepSource PPM which, upon information and belief, D. Morgenstern and

F. Morgenstern jointly prepared, it was represented to SleepSource investors that the bulk of the

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offering proceeds would be used for SleepSource’s acquisition of a mattress manufacturer and
retail company, respectively, Custom Mattress Corp. (“CMC”) and Sleep-O-Rama, Inc.
(“SORI”). In fact, the proceeds were used to fund a fraudulent scheme, conducted by
Defendants D. Morgenstern, F. Morgenstern and Stevens, to artificially inflate the price of
Amquest stock through pre-arranged trades of Amquest stock. Defendants D. Morgenstern and
F. Morgenstern, having prepared the SleepSource PPM, knew, or were reckless in not knowing
of the material misrepresentation. Defendant Stevens, an officer of SleepSource, having used the
SleepSource PPM in her SleepSource offering sales efforts, knew, or was reckless in not
knowing of the material misrepresentation.

28. The SleepSource PPM, dated June 15, 1996, stated further that SleepSource had
already “consummated the purchase” of CMC, and that the former principals of both CMC and
SORI had assumed top management positions at SleepSource, effective May 15, 1996. These
representations were false. In fact, SleepSource never acquired CMC, and CMC and SORI
principals did not assume top management positions at SleepSource. Defendants D. Morgenstern
and F. Morgenstern, having prepared the SleepSource PPM, knew, or were reckless in not
knowing of the material misrepresentations. Defendant Stevens, an officer of SleepSource,
having used the SleepSource PPM in her SleepSource offering sales efforts, knew, or was
reckless in not knowing of the material misrepresentations.

29. Finally, the SleepSource PPM, in an included unaudited financial statement,
falsely attributed to SleepSource certain “negotiable securities” valued, according to the

financials, at approximately $1.9 million. Defendants D. Morgenstern and F. Morgenstern,

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having, upon information and belief, prepared the financial statement appended to the
SleepSource PPM, knew, or were reckless in not knowing of the material misrepresentation.

Defendant Stevens, an officer of SleepSource, having used the SleepSource PPM, including the
financial statement, in her SleepSource offering sales efforts, knew, or was reckless in not

knowing of the material misrepresentation.

SUBSEQUENT ATTEMPTS TO EXPAND THE FRAUD

A. — Unsuccessful Trading Scheme

30. Defendants D. Morgenstern, F. Morgenstern and Stevens willfully diverted more
than $2 million of the Amquest offering proceeds and virtually all of the $700,000 of
SleepSource offering proceeds, to fund pre-arranged broker-facilitated trades of Amquest stock.
The trades were conducted in the name of approximately 17 companies controlled, directly or
indirectly, by the Defendants. D. Morgenstern transferred the Amquest offering proceeds, using
Amquest checks he personally signed, to KMA (Amquest’s “management company”);  F.
Morgenstern, in turn, transferred the funds, using KMA checks he personally signed, to the
numerous nominee accounts. Likewise, F. Morgenstern transferred the SleepSource proceeds,
with checks he signed, directly to the trading accounts. Using these funds, D. Morgenstern, F.
Morgenstern and Stevens were able to trade millions of Amquest shares in wash sales and
matched orders, from March through August 1997, in an attempt to sustain an artificially high

stock price.

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31. By attempting to inflate the price of Amquest stock through pre-arranged trades,
D. Morgenstern, F. Morgenstern and Stevens had hoped to gain substantial profits upon the sale,
direct or indirect, of their Amquest shares. However, their scheme, conducted between March
and August of 1997, ultimately failed: the price of Amquest stock, after holding steady between
$5 and $6 from mid-December 1996 through late March 1997, plummeted in mid-April 1997,

leveling off to its current sub-$1 level as early as April 25, 1997.

B. Other Fraudulent Activity by the Defendants
1, The Amquest Form 10

32. On April 7, 1997, during the attempted manipulation of the price of Amquest
stock by Defendants D. Morgenstern, F. Morgenstern and Stevens, Amquest filed with the
Commission a Form 10, prepared by D. Morgenstern, containing numerous material
misrepresentations. (Notwithstanding the withdrawal of the document prior to any declaration of
effectiveness by the Commission, the document became accessible to the public once entered on
EDGAR, the Commission’s computerized document filing and retrieval system, available to the
general public.)

33. The material misrepresentations appearing in the Form 10 relate to (1) certain
Brazilian "Rights" Amquest claims as assets and values at $256 million; (2) a "Letter of
Payment" which Amquest records as a $25 million asset; (3) approximately $9.6 million in
"unrealized income" the Company attributes to appreciation of the Rights; (4) $1.25 million in

"deferred consulting fees" the Company claims as an asset; and (5) a $239,128 "note receivable"

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which the Company claims is payable on June 30, 1997. These representations are all
completely false. Defendant D. Morgenstern, who prepared the Form 10, knew or should have
known that these representations were false.

34. Attached to the financial statements in the Form 10 was an auditor opinion letter,
forged by D. Morgenstern, certifying that the financial statements were “fair” and presented in
accordance with GAAP. Defendant D. Morgenstern willfully fabricated the opinion letter, and
knew, or was reckless in not knowing, that the financial statements were not “fair,” and were
not presented in accordance with GAAP.

35. | The Amquest Form 10 contained material misrepresentations about Amquest’s
management as well. Specifically, Amauest falsely claimed in the Form 10 prepared by D.
Morgenstern that the two MSA principals and two other successful real estate entrepreneurs were
officers and directors of the company. D. Morgenstern knew, or was reckless in not knowing,
that these repesentations were false.

2. Amduest Press Release

36. In a public press release dated May 21, 1997, Amquest announced the execution
of “repurchase agreements” with “a specific group of shareholders that exchanged Brazilian
judicial bonds [the Brazilian Rights] for the Company’s restricted securities in 1996.” This
press release, like virtually all other public information about Amquest, was completely false.
Defendant D. Morgenstern, who upon information and belief prepared the press release, knew,

or was reckless in not knowing, that this repesentation was false.

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3. Stevens’ Oral Misrepresentations

37. In addition to the many written material misrepresentations described above,
Defendant Stevens made oral misrepresentations to investors as well. Amquest investors were
instructed in the Amquest PPM to phone KMA, Amquest’s “investment banking firm,” in the
event they had questions about Amquest or the offering. In the course of fielding numerous
calls, Stevens falsely informed an investor that Amquest had “holdings” in South America; to
another investor she guaranteed that the price of Amquest stock would rise to $17-$20 per share;
to yet another investor she falsely stated that Amquest had acquired First Mortgage Corp. and
Flossmoor Properties and that in two years the investor’s Amquest stock would be worth
between $60 and $70 per share. Defendant Stevens made these statements either knowing they
were false, or with reckless disregard as to their truth.

THE DEFENDANTS PERSONALLY GAINED FROM THEIR MISCONDUCT

38. For her sales efforts in connection with the Amquest offering, Defendant Stevens
received more money from Amquest in the form of commissions, approximately $164,000, than
any other individual salesperson. In addition, Defendants D. Morgenstern and F. Morgenstern
received at least $135,000 and $365,000, respectively, of the Amquest and SleepSource offering

proceeds.

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COUNT ONE

The Commission incorporates and realleges herein paragraphs 1 through 38 of this
Complaint.

39. Between April 1996 and continuing through at least August 1997, Defendants
Amquest, D. Morgenstern, F. Morgenstern and Stevens directly or indirectly, by the use of the
means or instruments of transportation or communication in interstate commerce, or by the use
of the mails, in the offer or sale of securities, as described herein, knowingly, willfully and/or
recklessly employed devices, schemes or artifices to defraud, through acts which included, but
are not limited to, the activities described in paragraphs 1 through 38, above.

40. By reason of the foregoing, Defendants Amquest, D. Morgenstern, F.
Morgenstern and Stevens violated and, unless enjoined, will continue to violate Section 17(a)(1)
of the Securities Act, 15 U.S.C. § 77q(a)(1).

COUNT TWO
FRAUD
VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
AND RULE 10b-5

The Commission incorporates and realleges herein paragraphs 1 through 38 of this
Complaint.

41. Between April 1996 and continuing through at least August 1997, Defendants

Amquest, D. Morgenstern, F. Morgenstern and Stevens, directly or indirectly, by use of the

means or instrumentalities of interstate commerce, or of the mails, or of any facility of any

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national securities exchange, in connection with the purchase or sale of securities, as described
herein, knowingly, willfully and/or recklessly: (i) employed devices, schemes or artifices to
defraud; (ii) made untrue statements of material facts and omitted to state material facts necessary
in order to make the statements made, in light of the circumstances under which they were made,
not misleading; or (iii) engaged in acts, practices or courses of business which operated, or
would have operated as a fraud or deceit upon any person in connection with the purchase or sale
of such securities, through acts which included, but are not limited to, making the
misrepresentations and omissions of material fact described in paragraphs 1 through 38, above.
42. By reason of the foregoing, Defendants Amquest, D. Morgenstern, F.
Morgenstern and Stevens violated and, unless enjoined, will continue to violate Section 10(b) of

the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 [17 C.F.R. 240.10b-5], thereunder.

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COUNT THREE
FRAUD
VIOLATIONS OF SECTIONS 17(a)(2) AND

17(a)3) OF THE SECURITIES ACT |

The Commission incorporates and realleges herein paragraphs 1 through 38 of this
Complaint.

43. Between April 1996 and continuing through at least August 1997, Defendants
Amquest, D. Morgenstern, F. Morgenstern and Stevens, directly or indirectly, by the use of the
means or instruments of transportation or communication in interstate commerce, or by the use
of the mails, in the offer or sale of securities, as described herein:

(a) obtained money or property by means of untrue statements of material facts and
Omissions to state material facts necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; and/or

(b) engaged in transactions, practices, or a course of business which operated as a
fraud and deceit upon the purchasers of such securities, through acts which included, but are not
limited to, the activities described in paragraphs 1 through 38 above.

44. By reason of the foregoing, Defendants Amquest, D. Morgenstern, F.
Morgenstern and Stevens violated and, unless enjoined, will continue to violate Sections 17(a)(2)

and 17(a)(3) of the Securities Act, 15 U.S.C. §§ 77(q)(a)(2) and 77(q)(a)(3).

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WHEREFORE, the Commission respectfully requests that the Court:
1.
Declaratory Relief
(a) Declare, determine and find that Defendants Amquest, D. Morgenstern, F.
Morgenstern and Stevens committed the violations of the federal securities laws alleged herein;
and
(b) Declare, determine and find that Defendants Amquest, D. Morgenstern, F.
Morgenstern and Stevens received ill-gotten gains through their violations of the federal
securities laws, as described herein.
II.
Accounting and Disgorgement
Issue an Order requiring an accounting by Defendants Amquest, D. Morgenstern, F.
Morgenstern and Stevens of all proceeds and benefits received by them, directly or indirectly,
pursuant to the scheme described in this complaint, and awarding disgorgement in an amount to
be determined by the court against Defendants Amquest, D. Morgenstern, F. Morgenstern and
Stevens, jointly and severally, including prejudgment interest, to effect the remedial purposes of

the federal securities laws.

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It.
Civil Money Penalties
Issue an Order setting third-tier civil money penalties against Defendants Amquest, D.
Morgenstern, F. Morgenstern and Stevens pursuant to Section 20(d) of the Securities Act, 15
U.S.C. § 77t(d), and Section 21(d)(3) of the Exchange Act, 15 U.S.C. § 78(d)(3), for violations
of the federal securities laws as complained herein.
IV.
Permanent Injunction
Issue a Permanent Injunction, restraining and enjoining Defendants Amquest, D.
Morgenstern, F. Morgenstern and Stevens, their officers, agents, servants, employees, attorneys,
and all persons in active concert or participation with them, and each of them, from violating
Section 17(a) of the Securities Act, [15 U.S.C. § 77q(a)], and Section 10(b) of the Exchange
Act, [15 U.S.C. § 78j(b)], and Rule 10b-5 [17 C.F.R. 240.10b-5], thereunder.
Vv.
Further Relief
Grant such other and further relief as may be necessary and appropriate. Further, the
Commission respectfully requests that this Court retain jurisdiction over this action in order to
implement and carry out the terms of all orders and decrees that may hereby be entered, or to
entertain any suitable application or motion by the Commission for additional relief within the

jurisdiction of this Court.

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Case 0:98-cv-07044-PAS Document 1 Entered on FLSD Docket 09/28/1998 Page 22 of 23

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DATE: September, 1998

Respectfully s itted,

ee
Glenn Harris
Florida Bar No. 357588

Jeffrey A. Cohen
Florida Bar No. 606601

Attorneys for Plaintiff

SECURITIES AND EXCHANGE COMMISSION
1401 Brickell Avenue, Suite 200

Miami, Florida 33131

Telephone: (305) 982-6341

Facsimile: (305) 536-7465

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Case 0:98-cv-07044-PAS Document 1 Entered on FLSD Docket 09/28/1998 Page 23 of 23

(Rev. 12/86 ( CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing f pleadings o1

by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the Uni S@@iember 1

of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVE E FORM.)

L(a) PLAINTIFFS CIV- DEFEROULEAS, um

SECURITIES AND EXCHANGE COMMISSION DAVID MORGENSTERN, RN AUSTRATE JUDG
FRED MORGENSTERN, E
BERNADETTE STEVENS, and AMQUESTT SELTZER ONAL,
(DB) county oF RESIDENCE OF FIRST LISTED PLAINTIFF COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANTLID. Broward
(EXCEPT IN US. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES. USE THE LOCATION OF THE

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(a ATTORNEYS (FIRM NAME ADDRESS. AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN} =

lenn Harris, Esq. (305) 982-6341 Laurie Bolch, Esq. (561) B3B-7792

Jeffrey Cohen, Esq. (305) 982-6369 SEC, 1401 555 South Federal Highway? Guitesoop Boga Raton,
i i FL 33432—__-_-_—_-—___> x =--

(d) CIRCLE COUNTY WHERE ACTION AROSE: DADE, MONROE,“BROWARD.\ PALMBEACH, MARTIN, ST.LUCIE, INDIAN RIVER, OKEECHOBEE HIGHpAYDS

x

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il. BASIS OF JURISDICTION (PLACE AN’ X ‘NONE BOX ONLY) | IIL CITIZENSHIP OF PRINCIPAL PARTIES uéeah “x None ong PLAINTIFF
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VI. CAUSE OF ACTION = cre THE US CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY )

15 U.S.C. § 77q(a)(1), 15 U.S.C. § 785(b), 17 C.F.R. 240.10b-5, 15 U.S.C..§§ 77(q) (a) (2)

tenctHor Tria, ANd 77q(a)(3). Violations of the antifraud provision of the federal securities laws.
via LQoays estimated (for both sides to try entire case)

COMPLAINT: O UNDERERCP 23 Perm. Inj., Acct., JURY DEMAND: 0 YES XE NO
D . Cc I Pi it
VIII. RELATED CASE(S) (See instructions) TSB 9 BNE Money Seng es
iF ANY JUDGE KET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORp /7 f /
-23 4 S Glenn A. Harris
FOR OFFICE USE ONLY 4

RECEIPT 7 AMOUNT WC APPLYING IFRS SUD GE MAG JUDGE

